           Case 1:17-vv-00085-UNJ Document 40 Filed 06/15/18 Page 1 of 2




         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 17-0085V
                                     Filed: March 16, 2018
                                         UNPUBLISHED


    LAUREN SHAW,

                        Petitioner,
    v.                                                       Special Processing Unit (SPU);
                                                             Attorneys’ Fees and Costs
    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                       Respondent.


Diana Lynn Stadelnikas, Maglio Christopher & Toale, PA, Sarasota, FL, for petitioner.
Amy Paula Kokot, U.S. Department of Justice, Washington, DC, for respondent.

                      DECISION ON ATTORNEYS’ FEES AND COSTS 1

Dorsey, Chief Special Master:

       On January 18, 2017, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a left shoulder injury that was
caused-in-fact by the influenza (“flu”) vaccine she received on December 8, 2015.
Petition at 1. On November 15, 2017, the undersigned issued a decision awarding
compensation to petitioner based on the respondent’s proffer. (ECF No. 27).

       On February 26, 2018, petitioner filed a motion for attorneys’ fees and costs.
(ECF No. 33). Petitioner requests attorneys’ fees in the amount of $8,991.60 and
attorneys’ costs in the amount of $525.06. (Id. at 1-2.) In compliance with General

1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
           Case 1:17-vv-00085-UNJ Document 40 Filed 06/15/18 Page 2 of 2



Order #9, petitioner filed a signed statement indicating that petitioner incurred no out-of-
pocket expenses. (Id at 2). Thus, the total amount requested is $9,517.65.

        On March 9, 2018, respondent filed a response to petitioner’s motion. (ECF No.
34). Respondent argues that “[n]either the Vaccine Act nor Vaccine Rule 13
contemplates any role for respondent in the resolution of a request by a petitioner for an
award of attorneys’ fees and costs.” (Id. at 1). Respondent adds, however, that he “is
satisfied the statutory requirements for an award of attorneys’ fees and costs are met in
this case.” (Id. at 2). Respondent “respectfully recommends that the Chief Special
Master exercise her discretion and determine a reasonable award for attorneys’ fees
and costs.” (Id. at 3).

      On March 9, 2018, petitioner filed a reply. (ECF No. 36). Petitioner argues that
respondent has provided no precise objection. (Id. at 2-3). Petitioner also argues that
she has met her burden of establishing reasonable fees and costs. (Id. at 3-4).

      The undersigned has reviewed the billing records submitted with petitioner’s
request. In the undersigned’s experience, the request appears reasonable, and the
undersigned finds no cause to reduce the requested hours or rates.

      The Vaccine Act permits an award of reasonable attorneys’ fees and costs.
§ 15(e). Based on the reasonableness of petitioner’s request, the undersigned
GRANTS petitioner’s motion for attorneys’ fees and costs.

       Accordingly, the undersigned awards the total of $9,517.65 3 as a lump sum
in the form of a check jointly payable to petitioner and petitioner’s counsel Diana
L. Stadelnikas. Petitioner requests payment be forwarded to Maglio Christopher &
Toale, PA, 1605 Main Street, Suite 710, Sarasota, Florida, 34236.

        The clerk of the court shall enter judgment in accordance herewith. 4

IT IS SO ORDERED.

                                                           s/Nora Beth Dorsey
                                                           Nora Beth Dorsey
                                                           Chief Special Master


3 This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all

charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs.,
924 F.2d 1029 (Fed. Cir.1991).

4 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.
                                                      2
